      Case 2:16-cr-00055-RBS-DEM Document 43 Filed 07/06/18 Page 1 of 1 PageID# 248
INITIAL APPEARANCE MINUTES:


Time set:         1^- bO                              Date:                  7/6/18
Start Time:         • 10 p/vO                         Presiding Judge:       I^wrence K. Leonard.
End Time:         («^                                 Courtroom Deputy:                           ISr>pb|L^
                           '                          Rennrtftr*

Split Time ( )                                        U.S. Attorney:         OtUX f'jotLjl/^Tu
                                                      Defense Counsel:
                                                  ( )Retained( )Court appointed( )AFPD
                                                      Interpreter:
Case Number: 2:16cr55
USAv. ShakirMcNeal



 X   Deft. Present(X) custody( )not in custody
     Initial Appearance ( )Indictment( )Probation Violation Petition( )Supervised Release Petition
     ( ) Criminal Information ( )Rule 5 arrest( )Rule 32 arrest( )Criminal Complaint
     Deft, advised of rights, charges and right to counsel
     Counsel desired( )Defendant to retain:
     Defendant's motion to substitute counsel
     Order to substitute counsel executed and filed in open court        ,   b           i        ^               i a
     Financial Affidavit filed in open Court
     Court( )Directed ( )Denied appointment of counsel
     Court directed defendant to reimburse govt. at rate of $                        per month. Payments'to begin and
     continue each month thereafter until paid in full.
     Defendant waived( )Removal( )Preliminary hearing (In this District only)
     Defendant executed Waiver of Removal Hearing( )Waiver of Identity Hearing (In this District only)
     Waiver of Detention Hearing (In this District only)
     Commitment to Another District entered and filed in open court
     ( ) Preliminary( ) Removal Hearing set for                                              at                    before
                                          U.S. Magistrate Judge in                                                          .
     Preliminary Hearing               ( )Held( )Waived.( )Defendant stipulated to probable cause
     Court finds probable cause( )Defendant held for Grand Jury( )Defendant remanded to custody of
     U.S. Marshal for removal to charging districrv      I   )       /^ j        j                    J       ' fl P
     Government motion for Detention                                                                       flA          ^/'I/
     Government motion to withdraw motion for detention and set bond( )Granted                                   ( )Denied
     Detention Hearing scheduled for                   at                 before                                         .
     Detention Hearing( )Held( )Waived in                                                                                .
     Temporary Detention Order entered and filed ( )Detention Ordered Pending Trial
     Bond set at $
     Special Conditions of Release:(See Page 2)
     Deft, remanded to custody of U. S. Marshal
     Warrant returned executed and filed i^pen c^rt                      .       ^
     Defendant is directed to appear on    p f / 11?                 at ^            ^                    for
     ( )Arraignment C )SRVH .( )PVH( j Bench
     Trial
     (JO Norfolk( )Newport Ne\^
